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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

PNC BANK, NATIONAL ASSOCIATION,

                  Plaintiff and Counter-defendant,
                                                          Case Number 14-10527
v.                                                        Honorable David M. Lawson

GOYETTE MECHANICAL COMPANY, INC.,
GOYETTE-WEST, INC., DOMINIC GOYETTE,
and DOMINIC T. GOYETTE TRUST DATED
AUGUST 26, 1998, AS AMENDED,

                  Defendants, Cross-plaintiffs,
                  and Cross-defendants,
and

E.L. MECHANICAL, INC.,

                  Defendant, Counter-plaintiff,
                  Cross-plaintiff, and Cross-defendant,

and

GOYETTE MECHANICAL COMPANY, INC.,
GOYETTE-WEST, INC., DOMINIC GOYETTE,
and DOMINIC T. GOYETTE TRUST DATED
AUGUST 26, 1998, AS AMENDED,

                  Third-party plaintiffs,

v.

GERALD PEGUESE, PS DESIGN SYSTEMS, LLC,
ISAIAH STOVALL, and CARLA JACKSON-STOVALL,

                  Third-party defendants.
______________________________________________/

 ORDER GRANTING FIRST INTERIM FEE APPLICATION OF RUSSELL D. LONG,
 RECEIVER, ERMAN, TEICHER, ZUCKER & FREEDMAN, P.C., AS COUNSEL FOR
THE RECEIVER, AND O’KEEFE ASSOCIATES CONSULTING, LLC, AS FINANCIAL
                     ADVISOR TO THE RECEIVER
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       Presently before the Court is the first interim fee application of Russell D. Long, receiver,

Erman, Teicher, Zucker & Freedman, P.C., as counsel for the receiver, and O’Keefe Associates

Consulting, LLC, as financial advisor to the receiver. The receiver, counsel for the receiver, and

financial advisor to the receiver indicate in their application that all of the parties consented to the

payment of the requested fees.

       Accordingly, it is hereby ORDERED that the first interim fee application of Russell D.

Long, receiver, Erman, Teicher, Zucker & Freedman, P.C., as counsel for the receiver, and O’Keefe

Associates Consulting, LLC, as financial advisor to the receiver, [dkt. #91] is GRANTED.

       It is further ORDERED that the receive may apply unencumbered funds in the amount of

$30,114 in fees and $1,083.89 in costs to compensate Russell D. Long, the receiver; $6,800 in fees

and $96.17 in costs to compensate Erman, Teicher, Zucker & Freedman, P.C., as counsel for the

receiver; and $16,552 in fees and $553.08 in costs to compensate O’Keefe Associates Consulting,

LLC, the financial advisor to the receiver.


                                                                    s/David M. Lawson
                                                                    DAVID M. LAWSON
                                                                    United States District Judge

Dated: June 26, 2014


                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on June 26, 2014.

                                                            s/Shawntel Jackson
                                                            SHAWNTEL JACKSON




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